
Tukley, J.
delivered the opinion of the court.
This is an action of debt brought by Charles P. Williams against Henry L. Crutcher, to recover back a sum of money paid by him upon legal proceedings in the State of Mississippi, which were set aside and annulled afterwards by the Supreme Court of that State.
To this action, defendant pleaded in short, nil debet, payment and set-off, no notice of the pendency of the writ of error; to all of which there are replications and issues also in short.
The jury in their verdict found the issue of nil debet in favor of the plaintiff without noticing the others, upon which judgment was given by the Circuit Judge. This is erroneous. It has always been held, that when there are several issues, they must all be found by the jury before judgment can be pronounced. It is true, this need not be done in specific terms. The words, “find the issues,” have been held to be sufficient. But in the case under consideration, the jury say they find the defendant owes the debt in the declaration mentioned. This only negatives the plea nil debet, leaving the issues upon the pleas of payment, set-off and want of notice, undisposed of. It is true, these pleas are in short, and need not, as we have held, have been noticed by the plaintiff; in which case we would not have noticed them: but he has chosen to consider them as pleas; and having done so, we must do so likewise, as has been often determined by the court. The verdict of the jury, then, not disposing of the whole defence, no judgment could be entered thereon.
Judgment reversed, and case remanded for a new trial.
